                 Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 1 of 7 PageID# 138


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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                TEAS Plus Application
                                                                       Serial Number: 87136752
                                                                       Filing Date: 08/12/2016

   NOTE: Data fields with the * are mandatory under TEAS Plus. The wording "(if applicable)" appears where the field is only mandatory
                                               under the facts of the particular application.




                                                     The table below presents the data as entered.

                                           Input Field                                                                   Entered
             TEAS Plus                                                                  YES
             MARK INFORMATION
                                                                                        \\TICRS\EXPORT16\IMAGEOUT
             *MARK
                                                                                        16\871\367\87136752\xml1\ FTK0002.JPG
             *SPECIAL FORM                                                              YES
             USPTO-GENERATED IMAGE                                                      NO
             LITERAL ELEMENT                                                            HIGH ROLLER
             *COLOR MARK                                                                NO
             *COLOR(S) CLAIMED
             (If applicable)

             *DESCRIPTION OF THE MARK                                                   The mark consists of the words HIGH and ROLLER with a
             (and Color Location, if applicable)                                        crown between the two words.
             PIXEL COUNT ACCEPTABLE                                                     NO
             PIXEL COUNT                                                                1075 x 275
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             Interworks Unlimited Inc.
             *STREET                                                                    2418 Peck Rd
             *CITY                                                                      City of Industry
             *STATE
                                                                                        California
             (Required for U.S. applicants)

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
                                                                                        90601
             (Required for U.S. applicants)

             LEGAL ENTITY INFORMATION
             *TYPE                                                                      CORPORATION
             * STATE/COUNTRY OF INCORPORATION                                           California
             GOODS AND/OR SERVICES AND BASIS INFORMATION



                                                                                                                                                             10
   Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 2 of 7 PageID# 139


* INTERNATIONAL CLASS                    012
                                         Motor scooters; Electrically-powered motor scooters;
*IDENTIFICATION                          Motorized, electric-powered, self-propelled, self-balancing,
                                         wheeled personal mobility, transportation device
*FILING BASIS                            SECTION 1(a)
    FIRST USE ANYWHERE DATE              At least as early as 04/01/2016
    FIRST USE IN COMMERCE DATE           At least as early as 04/01/2016

    SPECIMEN                             \\TICRS\EXPORT16\IMAGEOUT
    FILE NAME(S)                         16\871\367\87136752\xml1\ FTK0003.JPG
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)

*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION
(if applicable)

*CONSENT (NAME/LIKENESS)
(if applicable)

*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                     Elizabeth Yang
FIRM NAME                                Yang & Wang, P.C.
STREET                                   18645 E Gale Ave #205
CITY                                     City of Industry
STATE                                    California
COUNTRY                                  United States
ZIP/POSTAL CODE                          91748
PHONE                                    9099965906
EMAIL ADDRESS                            eyang@yangwanglaw.com
AUTHORIZED TO COMMUNICATE VIA EMAIL      Yes
CORRESPONDENCE INFORMATION
*NAME                                    Elizabeth Yang
FIRM NAME                                Yang & Wang, P.C.
*STREET                                  18645 E Gale Ave #205
*CITY                                    City of Industry
*STATE
(Required for U.S. addresses)
                                         California

*COUNTRY                                 United States
*ZIP/POSTAL CODE                         91748
PHONE                                    9099965906
*EMAIL ADDRESS                           eyang@yangwanglaw.com;yangwanglaw@gmail.com
  Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 3 of 7 PageID# 140


*AUTHORIZED TO COMMUNICATE VIA EMAIL    Yes
FEE INFORMATION
APPLICATION FILING OPTION               TEAS Plus
NUMBER OF CLASSES                       1
FEE PER CLASS                           225
*TOTAL FEE PAID                         225
SIGNATURE INFORMATION
* SIGNATURE                             /Elizabeth Yang/
* SIGNATORY'S NAME                      Elizabeth Yang
* SIGNATORY'S POSITION                  Attorney of record, California bar member
SIGNATORY'S PHONE NUMBER                9099965906
* DATE SIGNED                           08/12/2016
                 Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 4 of 7 PageID# 141


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OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                     TEAS Plus Application

                                                                       Serial Number: 87136752
                                                                       Filing Date: 08/12/2016
To the Commissioner for Trademarks:
MARK: HIGH ROLLER (stylized and/or with design, see mark)

The literal element of the mark consists of HIGH ROLLER.
The applicant is not claiming color as a feature of the mark. The mark consists of the words HIGH and ROLLER with a crown between the two
words.
The applicant, Interworks Unlimited Inc., a corporation of California, having an address of
   2418 Peck Rd
   City of Industry, California 90601
   United States

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 012: Motor scooters; Electrically-powered motor scooters; Motorized, electric-powered, self-propelled, self-balancing,
wheeled personal mobility, transportation device

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 012, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 04/01/2016, and first used in commerce at least as early as 04/01/2016, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, .
Specimen File1




The applicant's current Attorney Information:
   Elizabeth Yang of Yang & Wang, P.C. 18645 E Gale Ave #205
   City of Industry, California 91748
   United States
   9099965906(phone)
   eyang@yangwanglaw.com (authorized)


The applicant's current Correspondence Information:
   Elizabeth Yang
   Yang & Wang, P.C.
   18645 E Gale Ave #205
   City of Industry, California 91748
   9099965906(phone)
   eyang@yangwanglaw.com;yangwanglaw@gmail.com (authorized)
           Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 5 of 7 PageID# 142


E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of $50 per international class of goods/services.

A fee payment in the amount of $225 has been submitted with the application, representing payment for 1 class(es).

                                                                    Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant has a bona fide intention, and is entitled, to use the mark in
commerce on or in connection with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and
belief, no other persons, except, if applicable, concurrent users, have the right to use the mark in commerce, either in the identical form or in such
near resemblance as to be likely, when used on or in connection with the goods/services of such other persons, to cause confusion or mistake, or
to deceive. The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
§ 1001, and that such willful false statements and the like may jeopardize the validity of the application or any registration resulting therefrom,
declares that all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.


Signature: /Elizabeth Yang/ Date Signed: 08/12/2016
Signatory's Name: Elizabeth Yang
Signatory's Position: Attorney of record, California bar member



RAM Sale Number: 87136752
RAM Accounting Date: 08/15/2016

Serial Number: 87136752
Internet Transmission Date: Fri Aug 12 14:04:58 EDT 2016
TEAS Stamp: USPTO/FTK-XX.XX.XXX.XX-20160812140458113
112-87136752-550d9bbfb48983b8f87a6dd2a14
48befbcd4b67817135caabba919ffe564db2b3-C
C-278-20160812133627361295
Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 6 of 7 PageID# 143
Case 3:18-cv-00828-MHL Document 10-10 Filed 03/19/19 Page 7 of 7 PageID# 144
